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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


FEDERAL TRADE COMMISSION,

                              Plaintiff,
                                                       Civil Action No. 1:20-cv-03590 (JEB)
                       v.

FACEBOOK, INC.

                              Defendant.


 FEDERAL TRADE COMMISSION’S UNOPPOSED MOTION FOR AN EXTENSION
             OF TIME TO FILE AN AMENDED COMPLAINT

       On June 28, 2021, the Court dismissed Plaintiff Federal Trade Commission’s complaint

without prejudice, and provided Plaintiff until July 29, 2021 to file an amended complaint. ECF

No. 72. Pursuant to Federal Rule of Civil Procedure 6(b)(1), Plaintiff respectfully moves this

Court for an extension of time of 21 days until August 19, 2021 to file an amended complaint.

Pursuant to Local Civil Rule 7(m), Plaintiff conferred with counsel for Defendant Facebook, Inc.

(“Facebook”) regarding this requested extension, and Facebook does not oppose this motion,

subject to the following understandings.

       First, the parties have agreed to the following proposed schedule related to Facebook’s

response to an amended complaint: (1) Plaintiff shall file an amended complaint no later than

August 19, 2021; (2) Facebook shall file its answer or otherwise respond to Plaintiff’s amended

complaint by October 4, 2021; (3) Plaintiff shall file its opposition to Facebook’s motion to

dismiss, if any, by November 17, 2021; and (4) Facebook shall file its reply, if any, by December

1, 2021. Second, Facebook reserves all rights as to the adequacy, legal validity, and

appropriateness of any proposed amendment.
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       Plaintiff respectfully submits that good cause exists to extend until August 19, 2021 the

deadline to file an amended complaint. See Fed. R. Civ. P. 6(b)(1) (the Court may for good

cause grant requests for time extension made before the original time expires). The requested

extension will provide sufficient time for Plaintiff to complete internal agency processes with

respect to filing an amended complaint. Further, the parties have agreed to a schedule for a

response to the amended complaint and any necessary briefing thereafter as described above.

The modest extensions requested will not burden or prejudice Defendant or any third parties, and

are consistent with the just, speedy, and inexpensive determination of this action. See Fed. R.

Civ. P. 1.

       For the foregoing reasons, Plaintiff respectfully requests that the Court grant this motion.



DATED: July 23, 2021                                 Respectfully submitted,
                                                     /s/ Krisha Cerilli
                                                     Krisha Cerilli (D.C. Bar 983281)

                                                     Federal Trade Commission
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                                   CERTIFICATE OF SERVICE

       I hereby certify that on July 23, 2021, I authorized the electronic filing of the foregoing

with the Clerk of the Court using the CM/ECF system, which will send a Notice of Electronic

Filing to all counsel of record.



                                              /s/ Krisha Cerilli
                                              Krisha Cerilli (D.C. Bar 983281)

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